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______________________________________________________________________________

                         UNITED STATES DISTRICT COURT
                    DISTRICT OF UTAH, CENTRAL DIVISION




 MARK L. SHURTLEFF, M’LISS
 MARLER SHURTLEFF, THOMAS
 JAMES SHURTLEFF, and
 ADRIANNA CAROLINE
 SHURTLEFF
                                             CIVIL RIGHTS COMPLAINT
                                                  FOR DAMAGES
           Plaintiffs,

 VS.

 SIM GILL; SALT LAKE COUNTY,
 UTAH; OFFICE OF THE SALT
 LAKE COUNTY DISTRICT
 ATTORNEY; STATE OF UTAH;
 UTAH DEPARTMENT OF PUBLIC                 Case No.
 SAFETY; UTAH STATE BUREAU
 OF INVESTIGATION; AGENT
 SCOTT NESBITT; FEDERAL                    Judge:
 BUREAU OF INVESTIGATION
 (FBI); SALT LAKE CITY PUBLIC
 CORRUPTION TASK FORE; FBI
 SPECIAL AGENT MICHELLE
 PICKENS; FBI SPECIAL AGENT
 JON ISAKSON; and JOHN DOES 1-
 30,


           Defendants.


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       Plaintiffs Mark L. Shurtleff (hereafter “Mark”), M’Liss Marler Shurtleff (hereafter

M’Liss”), Thomas James Shurtleff (hereafter “Thomas”), and Adrianna Caroline Shurtleff

(hereafter “Adrianna”) hereby complain against Defendants as follows:

                                        JURISDICTION

       1      This action is brought pursuant to 42 U.S.C. §§ 1981, 1983, 1985, 1986,1988 and

the Fourth, Fifth, Sixth, Ninth and Fourteenth Amendments to the United State Constitution,

and the case of Bivens v. Six Unknown Agents of the Federal Bureau of Narcotics, 403 U.S.

388 (1971).

       2.     Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1343 and the previously

mentioned statutory and constitutional provisions.

       3.     Jurisdiction supporting Plaintiff’s claim for attorney’s fees is conferred by 42

U.S.C.§ 1988.

                                            VENUE

       4.     This case is instituted in the United States Court for the District Of Utah pursuant

to 28 U.S.C. §1391 as the judicial district in which all relevant events and omissions occurred.

                                           PARTIES

       5.     At all times relevant hereto, all Plaintiffs were resident of Salt Lake County and

State of Utah.

       6.     Salt Lake County District Attorney Sim Gill was acting at all times relevant

hereto in his official capacity as the elected District Attorney of Salt Lake County, and in his

individual capacity, under color of law; and was responsible for, and the chief architect of, the

policies, practices and customs of the Office of Salt Lake County District Attorney; for the
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hiring, screening, training, retention, supervision, discipline, counseling and control of the

Deputy County Attorneys; was ultimately responsible for the execution and enforcement of the

law within Salt Lake County; was himself outside the role of a prosecutor, the chief architect

and direct personal leader of the investigation and prosecution of Plaintiff Mark Shurtleff for

personal and political gain. Defendant Gill was directly involved in orchestrating the

investigation, interviewing witnesses and ultimately in the authorization of and issuance of

fraudulent and perjured search warrant affidavits; unreasonable and unlawful searches and

seizures of Plaintiffs’ real and personal property; unlawful assault and seizure of Plaintiff

Thomas’ and Adrianna’s persons; the unlawful arrest, seizure and prosecution of Plaintiff Mark

Shurtleff.

       7.     Defendant Salt Lake County was at all times relevant hereto was a municipal

entity created and authorized under the laws of the State of Utah.

       8.     Defendant Office of the Salt Lake County District Attorney was, at all times

relevant herein, a municipal agency of Salt Lake County and was charged with the

responsibility of working in accordance with constitutional rights to execute and enforce the

law within Salt Lake County.

       9.     Defendant State of Utah is an appropriate defendant under 42 U.S.C. §1983, was

at all times material to this Complaint the employer of Agent Scott Nesbitt.

       10.    Defendant Utah Department of Public Safety {“DPS”) is a department of the State

of Utah charged with the responsibility of working in accordance with constitutional rights to

execute and enforce the law within the State of Utah.

       11.    Defendant Utah State Bureau of Investigations (“SBI”) is a division of the Utah

Department of Public Safety charged with investigating crime within the State of Utah.
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       12.    Defendant Agent Scott Nesbitt at all times relevant to the Complaint was acting

under color of state and federal law as a sworn law enforcement officer in his official capacity,

and in his individual capacity, as an agent assigned to SBI, co-director of the FBI SLCPCTC,

and a special deputy United States Marshall. Nesbitt was directly involved as the primary

drafter and the issuance of fraudulent and perjured search warrant affidavits; unreasonable and

unlawful searches and seizures of Plaintiffs’ real and personal property; unlawful assault and

seizure of Plaintiff Thomas’ and Adrianna’s persons; the unlawful arrest, seizure and

prosecution of Plaintiff Mark Shurtleff.

       13.    Defendant United States of America is the appropriate defendant pursuant to

Bivens v. Six Unknown Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971) and

was at all times material to this Complaint the employer of FBI Supervisory Special Agent

Michelle Pickens, Special Agent Jon Isakson and Special Agents John Does

       14.    Defendant Federal Bureau of Investigation (“FBI”) is a federal agency of the

United States with its headquarter office located in Washington D.C. with a branch office in

Salt Lake County, Utah charged with the responsibility of working in accordance with

constitutional rights to execute and enforce federal law within the State of Utah.

       15.    Defendant FBI Salt Lake City Public Corruption Task Force (“SLCPCTF”) was a

joint operation created by a Memorandum of Understanding between the FBI and the Utah

Department of Public Safety specifficly for the investigation of Defendant Mark Shurtleff and

other who’s stated purpose was to “identify and target for prosecution of federal, state, county

and local public officials or public entities; individuals associated with public officials or public

entities; and individuals representing public officials or public entities who are committing or

have committed violations of federal or state criminal statutes.”
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       16.    Defendant Supervising Special Agents Michelle Pickens at all times relevant to the

Complaint was acting under the color of federal law in her official capacity as special agent, and

in her individual capacity, operating under the employ of the FBI and was the presumptive leader,

along with Agent Scott Nesbitt, of the SLCPCTF. Pickens was directly involved in the issuance

of fraudulent and perjured search warrant affidavits; unreasonable and unlawful searches and

seizures of Plaintiffs’ real and personal property; unlawful assault and seizure of Plaintiff

Thomas’ and Adrianna’s persons; the unlawful arrest, seizure and prosecution of Plaintiff Mark

Shurtleff

       .17.   Special Agent Jon Isakson, at all times relevant to the Complaint was acting under

the color of federal law in his official capacity a special agent, and in his individual capacity,

operating under the employ of the FBI, and was assigned to the SLCPCTF. Isakson was directly

involved in the issuance of fraudulent and perjured search warrant affidavits; unreasonable and

unlawful searches and seizures of Plaintiffs’ real and personal property; unlawful assault and

seizure of Plaintiff Thomas’ and Adrianna’s persons; the unlawful arrest, seizure and prosecution

of Plaintiff Mark Shurtleff.

       18.    John Does 1- 30 are unidentified law enforcement officers, and prosecutors

employed by office of the Salt Lake County District Attorney, State of Utah DPS, FBI and/or

SLCPCTF under color of state or federal law in their official capacity as officers, and in their

individual capacity, and directly involved in one or more of the following unlawful actions: the

issuance of fraudulent and perjured search warrant affidavits; unreasonable and unlawful searches

and seizures of Plaintiffs’ real and personal property; unlawful assault and seizure of Plaintiff

Thomas’ and Adrianna’s persons; the unlawful arrest, seizure and prosecution of Plaintiff Mark

Shurtleff.
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                                  STATEMENT OF FACTS

       19.    Throughout late 2013 and early 2014, Defendants individually and collectinvely

executed false, fraudulent and perjured search warrants to unlawfully seize personal property,

texts, phone records and emails of Plaintiff Mark Shurtleff.

       20.    On June 3, 2014, the Defendants were individually and collectively responsible

for and involved in the execution of a false, fraudulent and perjured search warrant on

Plaintiff’s home located at 2020 Candle Spruce Cove, Sandy, Utah 84092.

       21. Defendants had been surveilling Plaintiffs for several weeks prior to June 3rd and in

conversation with prosecutors and defense attorneys they knew that Plaintiff Mark Shurtleff

was not home but nevertheless entered the home with excessive force wearing body armor and

wielding assault rifles and other automatic and semi-automatic weapons, and threatened, seized,

searched, and physically, verbally and emotionally abused Plaintiffs Thomas and minor

Adrianna Shurtleff.

       20.    The search warrant and the execution thereof were unlawful, and the actions of

the agencies and officers involved maliciously violated the civil rights of the Plaintiffs.

       21.    On July 14, 2016, Plaintiff Mark Shurtleff was arrested on false charges,

transported to jail, booked and processed, and maliciously prosecuted.

       22.    On July 27, 2018, the Third District Court dismissed all charges against Plaintiff

Mark Shurtleff.

       23.




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                                    JURY TRIAL DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand a

trial by jury.


                                   CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF

                 On Behalf of Plaintiff Pursuant to the Supreme Court Ruling
                               in Bivens v. Six Unknown Agents


         175. Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully

 set forth herein.

         176. As a result of Defendants FBI, SLCPCTF, Special Agent Pickens, Isakson and

 FBI Jon Does’ aforementioned conduct, Plaintiff Mark and M’Liss’ real and personal property

 were subjected to unlawful and unreasonable search and seizure; Plaintiff Thomas’ and

 Adrianna’s unlawful and unreasonable search and seizure of their persons, imprisoned, and

 subjected to excessive force; and Plaintiff Mark’s unlawful and unreasonable search and

 seizure of his person, imprisoned, and subjected to malicious prosecution; all in violation of

 said Plaintiffs’ Constitutional rights under the Fourth Amendment. As a direct result of the said

 Defendants’ actions and conduct, Plaintiffs were deprived of their rights, privileges and

 immunities under the Fourth Amendment of the United States Constitution, specifically the

 rights: to be secure in their persons, papers and effects against unreasonable search and seizure;

 not to be deprived of life, liberty, and property without due process of law; the right to not

 have excessive, wanton, or gratuitous force used without provocation in executing a search

 warrant and in effectuating an arrest.
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        177. The United States Supreme Court in Bivens v. Six Unknown Named Agents, 403

388 (1971), ruled that an implied cause of action existed for a Plaintiff, like Plaintiffs herein,

whose Fourth Amendment freedom from unreasonable search and seizures had been violated

by federal agents and that the victim of such a deprivation could sue for the violation of the

Amendment itself, despite the lack of any federal statute authorizing such a suit. The Bivens case

has been subsequently interpreted to create a cause of action against the federal government

similar to the one 42 U.S.C. § 1983 creates against the states. All of Plaintiffs’ claims against

Defendants FBI, SLCPCTF, Special Agent Pickens, Isakson and FBI Jon Does stem from

unlawful violations of Plaintiffs Fourth Amendment rights, notably, the unlawful search and

seizures of their persons and real and personal property, Mr. Shurtleff’s false arrest and

imprisonment, excessive force used against Thomas and Adrianna during the execution of the

search warrant on their home; and the arrest, retaliation and conspiracy, and malicious

prosecution of Mark Shurtleff.

        178. By reason of the intentional, malicious, and reckless acts of Defendants FBI,

SLCPCTF, Special Agent Pickens, Isakson and FBI Jon Does, Plaintiffs were caused to

experience psychological and physical pain and suffering, incur medical and legal expenses,

lose future earnings, lose personal property, suffer irreparable damage to reputations and in

other respects, were damaged.

                         SECOND CLAIM FOR RELIEF

                Violation of 42 U.S.C. § 1983 and the Fourth and Fourteenth
                    Amendments to the Constitution of the United States

        179. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth herein.

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        180. 42 U.S.C. §1983 provides that:

                Every person, who under color of any statute, ordinance, regulation, custom or usage
                of any state or territory or the District of Columbia subjects or causes to be subjected
                any citizen of the United States or other person within the jurisdiction thereof to the
                deprivations of any rights, privileges, or immunities secured by the constitution shall
                be liable to the party injured in an action at law, suit in equity, or other appropriate
                proceeding for redress…

        181. Plaintiffs in this action are citizens of the United States and all of the federal,

state and local law enforcement and criminal justice Defendants to this Complaint are

persons for purposes of 42 U.S.C. § 1983.

        182. Defendants Sim Gill, Agent Scott Nesbitt, and state officers John Does to

this Complaint, at all times relevant hereto, were acting under the color of state law in their

capacity as agents, officers, or employees of the State of Utah Department of Public

Safety, State Bureau of Investigations, SLCPCTF, or the Office of the Salt Lake County

District Attorney, and their acts or omissions were conducted within the scope of their

official duties or employment.

        183. Defendants, under color of state law, subjected Plaintiff to the foregoing

conspiracies, unlawful acts and omissions without due process of the law and violation of

42 U.S.C. § 1983, thereby depriving Plaintiffs of rights, privileges and immunities

secured by the Constitution and laws, including, but not limited to, those rights, privileges

and immunities secured by the Fourth and Fourteenth Amendments to the United States

Constitution, including, without limitation, deprivation of the following constitutional rights,

privileges, and immunities:

                a. Plaintiffs Thomas, Adrianna and Mark were denied their constitutional

                rights not to be deprived of their liberty without due process of the law;

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               b. Plaintiffs were denied their constitutional right to be free from the

               unlawful search and seizure of their persons and their real and personal

               property under the Fourth Amendment and in violation of their right to due

               process under the Fourteenth Amendment;

               c. Plaintiff Mark was denied his constitutional right to be free from unlawful

               arrest without probable cause protected under the Fourth Amendment and in

               violation of his right to due process under the Fourteenth Amendment;

               d. Plaintiff Mark was denied his constitutional right to be free from malicious

               prosecution protected under the Fourth Amendment and in violation of his right

               to due process under the Fourteenth Amendment; and

               e. Plaintiffs Thomas and Adrianna were denied their constitutional right

               to be free from unprovoked excessive and unlawful use of force by law

               enforcement.

       184. Any reasonable law enforcement officer or criminal justice professional,

including the state and local law enforcement and prosecutorial Defendants, knew or should

have known of these rights at the time of the complained of conduct as they were clearly

established at that time.

       185. To the extent any of these constitutional deprivations require a showing of

specific intent and/or motive, the individual state and local law enforcement and

prosecutorial Defendants acted intentionally, maliciously, and/or with reckless disregard for

the natural and probable consequences of their actions.

       186. As a result of this violation, Plaintiffs suffered physical and emotional injuries,

including but not limited to those associated with deprivation of liberty, severe emotional
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distress and suffering, severe and permanent mental distress and turmoil, anxiety, depression,

insomnia, embarrassment, and humiliation, and loss of income as is more fully detailed above.

        187. The state and local law enforcement Defendants’ unlawful misconduct was

objectively unreasonable and was undertaken intentionally with willful indifference to

Plaintiffs’ constitutional rights.

        188. As a proximate result of Defendants’ unlawful conduct, Plaintiffs have suffered

actual physical and emotional injuries, and other damages and losses as described herein

entitling them to compensatory and special damages. Plaintiffs are further entitled to attorney

fees and costs pursuant to 42 U.S.C. § 1988, pre-judgment interest and costs as allowable by

federal law.

                                     THIRD CLAIM FOR RELIEF

                       Violation of 42 U.S.C. § 1983-Excessive Force in violation of
                                the Fourth and Fourteenth Amendments


        189. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth herein.

        190. At the time of the complained of events, Plaintiffs Thomas and Adrianna

Shurtleff had a clearly established constitutional right under the Fourth Amendment to be

secure in their person from unreasonable seizure through excessive force.

        191. Plaintiffs Thomas and Adrianna also had the clearly established Constitutional

right under the Fourteenth Amendment to bodily integrity and to be free from excessive

force by law enforcement.

        192. Any reasonable police officer knew or should have known of these rights at

the time of the complained of conduct as they were clearly established at that time.
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        193. The federal, state and local law enforcement Defendants’ actions and use of

force, as described herein, were objectively unreasonable in light of the facts and

circumstances confronting them and violated these Fourth Amendment rights of Plaintiff.

        194. The federal, state and local law enforcement Defendants’ actions and use of

force, as described herein, were also malicious and/or involved reckless, callous, and

deliberate indifference to Plaintiffs Thomas’ and Adrianna’s federally protected rights.

The force used by these state and local law enforcement Defendants shocks the

conscience and violated their Fourteenth Amendment rights.

        195. The federal, state and local law enforcement Defendants unlawfully seized the

persons of Plaintiffs Thomas and Adrianna by means of objectively unreasonable, excessive,

and conscious shocking physical, verbal and emotional force, thereby unreasonably

restraining Plaintiffs of their freedom.

        196. The force used constituted deadly force in that it could have caused death and

did cause serious mental and emotional injury.

        197. None of the federal, state and local law enforcement Defendants took reasonable

steps to protect Plaintiffs from the objectively unreasonable and conscience shocking

excessive force of other Defendant officers or from the excessive force of later responding

officers despite being in a position to do so. They are each therefore liable for the injuries and

damages resulting from the objectively unreasonable and conscience shocking force of each

other officer.

        198. The federal, state and local law enforcement Defendants engaged in the conduct

described by this Complaint willfully, maliciously, in bad faith, and in reckless disregard of

Plaintiffs’ federally protected constitutional rights.
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        199. The federal, state and local law enforcement Defendants did so with shocking

and willful indifference to Plaintiffs’ rights and their conscious awareness that they would

cause Plaintiffs severe mental and emotional injuries and potentially could have caused grave

physical injury including death.

        200. The acts or omissions of all individual state, federal and local law

enforcement Defendants’ were moving forces behind Plaintiffs’ injuries.

        201. These individual federal, state and local law enforcement Defendants acted in

concert and joint action with each other.

        202. The acts or omissions of the federal, state and local law enforcement Defendants

as described herein intentionally deprived Plaintiffs of their constitutional rights and caused

them other damages.

        203. These individual federal, state and local law enforcement Defendants are not

entitled to qualified immunity for the complained of conduct.

        204. The individual federal, state and local law enforcement Defendants to this claim,

at all times relevant hereto, were acting pursuant to state and municipal/county custom,

policy, decision, ordinance, regulation, widespread habit, usage, or practice in their actions

pertaining to Plaintiffs.

        205. As a proximate result of individual federal, state and local law enforcement

Defendants’ unlawful conduct, Plaintiffs have suffered actual physical and emotional

injuries, and other damages and losses as described herein entitling them to compensatory

and special damages, in amounts to be determined at trial. As a further result of the

individual federal, state and local law enforcement Defendants’ unlawful conduct, Plaintiffs

have incurred special damages, including medically related expenses and may continue to
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incur further medically and other special damages related expenses and may continue to incur

further medical and other special damages related expenses, in amounts to be established at trial.

        206. On information and belief, Plaintiff may suffer lost future earnings and impaired

earnings capacities in amounts to be ascertained in trial. Plaintiffs are further entitled to

attorney’s fees and costs pursuant to 42 U.S.C. § 1983, prejudgment interest and costs as

allowed by federal law. There may also be special damages for lien interests.

        207. In addition to compensatory, economic, consequential and special damage,

Plaintiffs are entitled to punitive damages against each of the individually named individually

federal, state and local law enforcement Defendants under 4 U.S.C. § 1983, in that the actions

of each of these individual federal, state and local law enforcement Defendants have been

taken maliciously, willfully or with a reckless or wanton disregard of the constitutional rights

of Plaintiffs.


                                  FIFTH CLAIM FOR RELIEF

                    42 U.S.C. § 1983-Malicious Prosecution in violation of the
                              Fourth and Fourteenth Amendments

        208. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth herein.

        209. At the time of the complained of events, Plaintiff Mark Shurtleff had the

clearly established constitutional right to be free from malicious prosecution without

probable cause under the Fourth Amendment and in violation of due process under the

Fourteenth Amendment.

        210. Any reasonable police officer, attorney and prosecutorial professtional, including

the Defendants in this case, knew or should have known of these rights at the time of the
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complained of conduct as they were clearly established at that time.

        211. The individual federal, state and local law enforcement and criminal justice

Defendants violated Plaintiff’Mark’s Fourth and Fourteenth Amendment rights to be free from

malicious prosecution without probable cause and without due process when they worked in

concert to secure an arrest warrant based on false, fraudulent and perjured search and arrest

warrant affidavits, newspaper and other media stories, personal political aspirations of

Defendant Sim Gill, furtherance of the retaliatory intent of political opponents and individuals

prosecuted and convicted by Mark while Utah Attorney General, to ecure false charges against

him, resulting in his unlawful arrest, confinement and prosecution.

        212. The Defendants, led by Sim Gill, conspired and/or acted in concert to institute,

prosecute and continue criminal proceedings against Plaintiff Mark without probable cause.

        213. At the time of the complained of events, Plaintiff Mark had the clearly

established constitutional right to be free from malicious prosecution without probable

cause under the Fourth Amendment and in violation of due process under the Fourteenth

Amendment.

        214. Any reasonable police officer or prosecutor knew or should have known of

these rights at the time of the complained of conduct as they were clearly established at

that time.

        215. Individual federal, state and local law enforcement Defendants violated Plaintiff

Mark’s Fourth and Fourteenth Amendment rights to be free from malicious prosecution

without probable cause and without due process when they worked in concert to secure false

charges against him, resulting in his unlawful confinement and prosecution.

        216. Individual federal, state and local law enforcement Defendants violated Plaintiff
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Mark’s Fourth and Fourteenth Amendment rights to be free from malicious prosecution

without probable cause and without due process when they worked in concert to secure false

charges against him, resulting in his unlawful confinement and prosecution.

       217. Individual federal, state and local law enforcement Defendants conspired and/or

acted in concert to institute, procure and continue a criminal proceeding for falsely alleged

felonious crimes involving “public corruption” against Plaintiff Mark without probable cause.

       218. The procurement of the prosecution against Plaintiff Mark for the, known to

be false, allegations were malicious, shocking, and objectively unreasonably in light of

the circumstances.

       219. The criminal proceedings against Plaintiff Mark terminated in his favor by another

prosecutor, Special Assistant Utah Attorney General Troy Rawlings upon close examination of

the allegations in light of the evidence and the unlawful, fraudulent conduct of Defendant law

enforcement officers under the guidance, leadership and direction of Defendant Sim Gill and

Salt Lake County DA John Does.

       220. On November 13, 2014, the District Attorney’s Office dismissed all charges for

which Plaintiff had been arrested, indicted and prosecuted on: robbery and assault on an

officer on May 14, 2014 and robbery on September 5, 2014.

       221. On July 18, 2016, Davis County District Attorney Troy Rawlings, acting in his

special capacity as Special Assistant Utah Attorney General, filed a motion to dismiss all

charges for which Plaintiff Mark was arrested, charge and prosecuted. On July 27, 2018 the

Utah Third Judicial District Court dismissed all criminal charges against Defendant Mark

Shurtleff.

       222. The acts and omissions of all individual Defendants were moving forces
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behind Plaintiff Mark’s damages.

       223. These individual federal, state and local law enforcement Defendants acted in

concert and joint action with each other.

       224. The acts or omissions of the federal, state and local law enforcement

Defendants as described herein intentionally deprived Plaintiff Mark of his constitutional

and statutory rights and caused him other damages.

       225. The federal, state and local law enforcement Defendants are not entitled to

absolute or qualified immunity for the complained of conduct.

       226. The Defendants to this claim at all times relevant hereto were acting pursuant

to state/municipal/county custom, policy, decision, ordinance, regulation, widespread habit,

usage, or practice in its actions pertaining to Plaintiff Mark.

       227. As a proximate result of the federal, state and local law enforcement

Defendants’ unlawful conduct, Plaintiff Mark has suffered actual physical and emotional

injuries, and other damages and losses as described herein entitling him to compensatory

and special damages, in amounts to be determined at trial. Plaintiff is further entitled to

attorney’s fees and costs pursuant to 42 U.S.C. § 1988, pre-judgment interest and costs as

allowable by federal law.



                                   EIGHTH CLAIM FOR RELIEF

        Violation of 42 U.S.C. §1983 - Deliberately Indifferent Policies, Practices,
      Customs, Training, and Supervision in violation of the Fourth and Fourteenth
             Amendments and in violation of 42 U.S.C.§1981 Monell Claim
                Against the Utah State and Salt Lake County Defendants


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        280. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully

set forth herein.

        281. Plaintiffs had the following clearly established rights at the time of the

complained conduct:

            a. the right to be free from unlawful search, seizure and arrest not based on probable
               cause;

            b. the right to be secure in their person from unreasonable search, seizure and
               excessive force, under the Fourth Amendment;

            c. the right to bodily integrity and to be free from excessive force by
               law enforcement under the Fourteenth Amendment;

            d. the right to be free from malicious prosecution under the Fourth and Fourteenth
               Amendments.

        282. Federal, State and Salt Lake County Defendants had in effect, both before and at

the time of the events alleged in this complaint, several interrelated de facto policies, practices

and customs, including, inter alia:

                a. a policy, practice and custom of use of excessive force against suspects;

                b. a policy, practice and custom of failing to properly train or supervise

                officers in the proper techniques of apprehending and arresting suspects;

                c. a policy, practice and custom of using false or fabricated evidence in arrest

                and search warrant affidavits;

                d. a policy, practice and custom of not following proper identification

                proceedings and using tainted identifications in effectuating the arrest

                and prosecution of innocent suspects;

                e. a policy, practice and custom of failing to properly discipline officers

                who violate the United States Constitution or law, or otherwise
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                transgress the rights of criminal suspects during their investigation; and

                f. a policy, practice and custom of immediate public vilification of persons

                accused of “high-profile” crimes with concomitant refusal to consider

                evidence inconsistent with that portrayal.

        283. These interrelated policies, practices and customs, separately and/or together,

were implemented with deliberate indifference, and were a direct and proximate cause of

Plaintiffs ‘Constitutional violations and injuries, as set forth above.

        284. These interrelated policies, practices and customs, separately and/or together,

were the direct and proximate cause of the injury and damage to Plaintiffs and violated their

rights guaranteed by the United States Constitution.

        285. The existence of these interrelated policies, practices and customs can be

inferred from numerous incidents reflecting a pattern of police and prosecutorial misconduct

like that alleged herein.

        286. The existence of these interrelated policies, practices and customs can be

inferred from the fact that the incidents of police and prosecutor misconduct alleged herein

were authorized by individuals with policymaking authority in the Federal, State and Salt

Lake County law enforcement and criminal justice agencies.

        287. Defendants are not entitled to absolute or qualified immunity for the complained

of conduct.

        288. Federal, State and Salt Lake County Defendants were, at all times relevant,

policymakers and in that capacity established policies, procedures, customs, and/or practices

for these law enforcement and criminal justice agencies.

        289. Federal, State and Salt Lake County Defendants have created and tolerated an
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atmosphere of lawlessness, and have developed and maintained long-standing, department-wide

customs, law enforcement related policies, procedures, customs, practices, and/or failed to

properly train and/or supervise its officers in a manner amounting to deliberate indifference to

the constitutional rights of Plaintiffs and of the public.

          290. In light of the duties and responsibilities of law enforcement officers and

prosecutors that participate in preparation and approval of search warrants, arrests and

preparation of police reports and criminal informations on alleged crimes, the need for

specialized training and supervision is so obvious, and the inadequacy of training and/or supervision

is so likely to result in the violation of constitutional and federal rights such as those described herein

that the failure to provide such specialized training and supervision is deliberately indifferent to those

rights.

          291. The deliberate indifference to training and supervision by Federal, State and Salt

Lake County Defendants resulted from a conscious or deliberate choice to follow a course of

action from among various alternatives available to said Defendants and was the moving

forces in the constitutional and federal violations complained of by Plaintiffs.

          292. As a direct result of Defendants’ unlawful conduct, Plaintiffs have suffered actual

physical and emotional injuries, and other damages and losses as described herein entitling

him to compensatory and special damages. Plaintiffs are further entitled to attorney’s fees and

costs pursuant to 42 U.S.C. § 1988, pre-judgment interest and costs as allowable by federal

law.

                                       PRAYER FOR RELIEF

          Plaintiffs pray that this Court enter judgment for the Plaintiffs and against each of the

Defendants and grants:

                                                                                                              20
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       A.     Compensatory and punitive damages, including damages for emotional distress,

humiliation, loss of enjoyment of life, and other pain and suffering on all claims allowed by law

in an amount of $60,000,000.00 for such greater amount as may be set by a jury;

       B.     Economic losses on all claims allowed by law;

       C.     Special damages;

       D.     Attorneys’ fees and the costs associated with this action under 42 U.S.C. §1988,

including expert witness fees, on all claims allowed by law;

       E.     Pre- and post-judgment interest at the lawful rate; and

       F.     Any further relief that this court deems just and proper, and any other appropriate

relief at law and equity.

       Dated this 5th Day of June 2018.

                                                    /s/Mark L. Shurtleff______
                                                    Mark L. Shurtleff
                                                    Attorney for Plaintiffs




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